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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                        MISSOULA DIVISION

SAMANTHA ALARIO, et al.,
                            Plaintiffs,
and
                                          CV 23-56-M-DWM
TIKTOK INC.,                              CV 23-61-M-DWM

               Consolidated Plaintiff,    JOINT MOTION FOR STAY OF
                                          PROCEEDINGS
v.

AUSTIN KNUDSEN, in his official
capacity as Attorney General of the
State of Montana,
                          Defendant.
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       The parties, through their respective counsel, jointly move for a stay of

proceedings pending the adjudication of a recently-commenced independent

proceeding that bears upon this case. Specifically, the parties jointly request that

the Court stay proceedings until final adjudication of Consolidated Plaintiff

TikTok Inc.’s constitutional challenge to the Protecting Americans from Foreign

Adversary Controlled Applications Act, which is pending in the U.S. Court of

Appeals for the D.C. Circuit. See Petition for Review of Constitutionality of the

Protecting Americans from Foreign Adversary Controlled Applications Act,

TikTok Inc. v. Garland, No. 24-1113 (May 7, 2024).

I.     Background

       On April 23, 2024, Congress enacted H.R. 815, division H of which is titled

the “Protecting Americans from Foreign Adversary Controlled Applications Act”

(the “Act”) (attached hereto as Exhibit A). On April 24, 2024, President Biden

signed the Act into law. The Act prohibits “online mobile application store[s]” and

“internet hosting services” from servicing “foreign adversary controlled

application[s]” within the United States. See Pub. L. No. 118-50 div. H, § 2(a).

This includes the “distribution, maintenance, or updating” of a covered application

through an online marketplace like a mobile application store. Id. § 2(a)(1). The

Act deems any application that is operated by (i) “ByteDance[] Ltd.,” (ii)

“TikTok,” (iii) their “subsidiar[ies] . . . or . . . successor[s]” that are “controlled by


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a foreign adversary,” or (iv) an entity that is “owned or controlled” by the

aforementioned, to be a “foreign adversary controlled application.” Id. § 2(g)(3).

Section 2(c) of the Act exempts a “foreign adversary controlled application” from

the Act’s prohibitions if the company that operates the application executes a

“qualified divestiture,” as that term is defined in the Act. Id. § 2(c).

      The prohibition on providing Internet hosting and mobile application store

services to TikTok and other ByteDance applications takes effect 270 days after

enactment—i.e., January 19, 2025. Id. § 2(a)(2)(A). The Act requires that any

“petition for review challenging [the Act] may be filed only in the United States

Court of Appeals for the District of Columbia Circuit.” Id. § 3(b).

      On May 7, 2024, Consolidated Plaintiff TikTok Inc., along with its ultimate

parent ByteDance Ltd., filed a Petition for Review in the United States Court of

Appeals for the District of Columbia Circuit (Case No. 24-1113) challenging the

constitutionality of the Act. The petition (attached hereto as Exhibit B) claims that

the Act violates the First Amendment, is an unconstitutional bill of attainder,

violates the petitioners’ Fifth Amendment equal protection rights, and effects an

unlawful taking of private property without just compensation.

II.   Legal Standard

      This Court “possesses inherent authority to stay federal proceedings

pursuant to its docket management powers.” In re PG&E Corp. Sec. Litig., ---


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F.4th --- , 2024 WL 1947143, at *7 (9th Cir. May 3, 2024) (quotation marks

omitted). “A district court may, with propriety, find it efficient for its own docket

and the fairest course for the parties to enter a stay of an action before it, pending

resolution of independent proceedings which bear upon the case.” Id. (quotation

marks omitted). “This rule . . . does not require that the issues in such proceedings

are necessarily controlling of the action before the court.” Mediterranean Enters.,

Inc. v. Ssangyong Corp., 708 F.2d 1458, 1465 (9th Cir. 1983) (quotation marks

omitted). It is enough that, when combined with considerations of fairness to the

parties, the stay furthers “the orderly course of justice measured in terms of the

simplifying . . . of issues, proof, and questions of law.” In re PG&E Corp. Sec.

Litig., 2024 WL 1947143 at *7.

III.   A Stay is Appropriate in this Case.

       The parties respectfully submit that it would be appropriate to stay

proceedings in this matter pending final adjudication of Consolidated Plaintiff’s

Petition for Review pending before the D.C. Circuit. That action bears upon this

case in several respects, and a stay would further the orderly course of justice by

simplifying the issues and questions of law in this matter. As the Court is aware,

Plaintiffs and Consolidated Plaintiff in this action argue, among other things, that

SB 419 is preempted because it conflicts with federal law. See Complaint for

Injunctive and Declaratory Relief, Alario v. Knudsen, No. CV-23-56-M-CWM (D.


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Mont. May 17, 2023), ECF 1 at ¶ 3; Complaint for Injunctive and Declaratory

Relief, TikTok v. Knudsen, No. 23-61-M-DWM (D. Mont. May 22, 2023), ECF 1

at ¶ 7(b). The petition currently pending before the D.C. Circuit will clarify the

scope of the federal law in this area bearing upon this Court’s preemption analysis,

in addition to addressing other matters bearing upon this case. See Ex. B at *30–56

(First Amendment); id. at *56–59 (Bill of Attainder).

      Given that the D.C. Circuit action will clarify the legal issues for this

litigation, the parties respectfully submit that a stay would be appropriate. A stay

would not prejudice any party, as reflected by this joint motion. Safari Club Int’l

v. Bonta, 2023 WL 3505373, at *1 (E.D. Cal. May 17, 2023) (“Because no party

objects to the entry of a stay and in fact jointly so move, no prejudice or harm from

the granting of a stay is apparent on the record. Thus, the court will grant the

parties’ joint motion to stay this action.”). Accordingly, the parties respectfully

submit that all factors considered for a stay are satisfied in this case. See

Mediterranean Enters., Inc., 708 F.2d at 1465.1




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  For avoidance of doubt, this joint motion for a stay should not be construed as
requesting any modification to the preliminary injunction ordered by the Court on
November 30, 2023 (Dkt. 113).

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                                   CONCLUSION

      For the foregoing reasons, the parties respectfully request that the Court

enter an order (i) staying proceedings in this case pending resolution of

Consolidated Plaintiff’s petition for review in the D.C. Circuit; and (ii) directing

the parties to file a status report within 30 days of the final adjudication of the D.C.

Circuit action. In accordance with Local Rule 7.1(c), a proposed order is attached

as Exhibit C.


 DATED this 14th day of May, 2024.


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